          Case 1:11-cv-00175-PB Document 34 Filed 09/27/12 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                                       FOR THE
                           DISTRICT OF NEW HAMPSHIRE
______________________________________
Robert Vozzella, Personal Representative     )
of the Estate of Judith Vozzella, and        )
Robert Vozzella, in his individual           )
Capacity                                     )
                                             )
Plaintiff                                    ) JURY TRIAL DEMANDED
                                             )
v.                                           ) NO. 1:11-CV-00175-PB
                                             )
HCA Health Services of New Hampshire, Inc., )
d/b/a Portsmouth Regional Hospital, and      )
Appledore Medical Group II, Inc. d/b/a       )
Coastal Cardiothoracic & Vascular Associates )
                                             )
Defendants                                   )
_____________________________________)

                STIPULATION OF DISMISSAL WITH PREJUDICE

       Robert Vozzella, Personal Representative of the Estate of Judith Vozzella and

Robert Vozzella, in his Individual Capacity, HCA Health Services of New Hampshire,

Inc. d/b/a Portsmouth Regional Hospital, and Appledore Medical Group II, Inc. d/b/a

Coastal Cardiothoracic & Vascular Associates, hereto by their respective undersigned

counsel, hereby stipulation to the dismissal of all claims between them, with prejudice,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party to bear its own fees and expenses.

No costs, no interest.




 


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                                   Respectfully submitted,

                                   ROBERT VOZZELLA, PERSONAL
                                   REPRESENTATIVE OF THE ESTATE OF
                                   JUDITH VOZZELLA AND ROBERT
                                   VOZZELLA IN HIS INDIVIDUAL
                                   CAPACITY

                                   By his attorneys,
                                   SHAHEEN & GORDON, PA

Dated: September 25, 2012          /S/ Christine M. Craig
                                   Christine M. Craig, #12842
                                   P.O. Box 977, 140 Washington Street
                                   Dover, NH 03821
                                   (603) 749-5000

                                   MCTEAGUE HIGBEE

                                   /S/ G. William Higbee
                                   G. William Higbee
                                   4 Union Park, P.O. Box 5000
                                   Topsham, ME 04086

                                   HCA HEALTH SERVICES OF NEW
                                   HAMPSHIRE, INC. D/B/A PORTSMOUTH
                                   REGIONAL HOSPITAL
                                   By their attorneys,

                                   WADLEIGH, STARR & PETERS, PLLC

Dated: September 25, 2012          /S/ Todd J. Hathaway
                                   Todd J. Hathaway, #12102
                                   95 Market Street
                                   Manchester, NH 03105
                                   (603) 669-4140




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               Case 1:11-cv-00175-PB Document 34 Filed 09/27/12 Page 3 of 3



                                                          GIDEON, COOPER & ESSARY, PLC


                                                          /S/ Alan S. Bean
                                                          Alan S. Bean
                                                          1100 Noel Place
                                                          200 Fourth Avenue, North
                                                          Nashville, TN 37219
                                                          (615) 254-0400

                                                          APPLEDORE MEDICAL GROUP, INC d/b/a
                                                          COASTAL CARDIOTHORACIC &
                                                          VASCULAR ASSOCIATES
                                                          By their attorneys,

                                                          RANSMEIER & SPELLMAN, P.C.


Dated: September 25, 2012                                 /S/ Lawrence Smith
                                                          Lawrence Smith, #2376
                                                          One Capital Street
                                                          P.O. Box 600
                                                          Concord, NH 03302
                                                          603-228-0477

                                                          HALL, PRANGLE & SCHOONVELD, LLC


                                                          /S/ Eric P. Schoonveld
                                                          Eric P. Schoonveld, Esquire
                                                          200 South Wacker Drive, Suite 3300
                                                          Chicago, IL 60606
                                                          (312) 267-6320



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